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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                                Crim. Action No. 21-CR-083 (TNM)

 BRANDON FELLOWS

                        Defendant.




          RESPONSE TO THE MOTIONS OF MR. SHIPLEY TO WITHDRAW
                    (Dckt 117 and 133 and Hearing of 6/22/2023)


                                       INTRODUCTION

       Judge, I believe an apology on your end is due to me for not allowing me to verbally

correct Bill’s lies during my June 2023 hearing, and for alluding that it was I who was the liar

when I've continuously proven others have lied in your courtroom. Though I don't expect it, I do

believe an honorable person would apologize for doing such things, especially in light of the

below facts and corrections, and that I personally have not been found to have lied in your court.

       While the Court has already removed them, I want the record to reflect that I wanted Bill

and Ryan off my case as I do not trust them. In June while we were preparing for trial, they took

14 days off for vacation -- this was typical, they were always taking weeks off. Though they

occasionally picked up their work, it was always the same old thing -- I had to remind them

constantly of things and often times that was not enough. I needed more time to prepare.

        Furthermore, they continually failed to do or delayed doing what I needed them to do.

They should be found in contempt for knowingly lying in federal court and disrespecting your

courtroom in the worst of ways. I was asking for a continuance of the trial at that time because I
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had not been allowed to prepare anywhere near what the government claims I had been able to.

They too do not have the facts straight, and yet, just as you did with Bill, you believed them and

their lies over what I shared (the truth). I needed a continuance to have time to fully prepare,

because I had just recently received discovery that I could not access before because of the

constant problems I've brought up to you many times.

       I did not appreciate you touting random claims/ conspiracy theories as to why you

thought I was delaying my trial. I don't know where you came up with such things. It would

seem you pulled them out of thin air with no evidence (and while ignoring the vast amounts of

evidence that support my position). One of which being that I planned to delay until another

President comes along. Tell me judge, why wouldn't I just accept the 3 time served plea deals

(one of which being a misdemeanor) rather than sit in abusive jails for another 2-3 years? Please

think before you speak, and think based on evidence, especially when dealing with a case that

involves 20 years of someone’s life, it's beyond disrespectful and dangerous to continue this

behavior.

       Do something to those who lie in your courtroom for once. Prove that you should be

respected and that you don't tolerate liars in your courtroom! I may be unorthodox, have

improper demeanor, smile at the wrong times, or laugh when you don't think something is funny.

I may share opinions that you don't agree with, be politically incorrect, or speak without a filter

(even to my detriment), but I don't dare lie in your court room, not just to respect you, but to

respect myself. Show you can bring justice blindly and won't hesitate to punish any party who

truly disrespects you or your court. The truth is not disrespectful, lies are.
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                                           ARGUMENT



A.   Lie Number 1:

     •   Bill said: "In April 2022, I learned from a client that Brandon Fellows was detained
         in the District of Columbia Department of Corrections, was representing himself for
         purposes of this case, and wished to speak with me about making an appearance as
         his counsel because he was unhappy with his “stand-by” counsel. I was familiar with
         Mr. Fellows from press reports of his case up to that point in time."

     •   Bill knows we began communications around January of 2022, first over phone calls,
         then over messaging.


            •   Proof: (Exhibit 1 shows on 2/12/22 that I was messaging Bill and Ryan a
                counteroffer because I wanted them as standby counsels).

     •   Bill also knows I retained them as STAND-BY COUNSELS in mid-February 2022.

            •   Proof: Ryan Marshall: "So from here on, we can consider yourself having
                retained "standby counsel" of me and Bill for 10k," (Exhibit 7 and 8) (not
                most recent negotiations, continue reading up until Exhibit 12 for final
                payment, that Exhibit shows I officially retained them 2/17/22 as standby
                counsels), see also Exhibits 4 and 28 for updates.

            •   However, Bill agreed to hide this fact from the court until April 14th, 2022, so
                as to not distract you from the real issues I was facing, I wanted you to rule on
                issues I had been seeking relief on for about half a year, I wanted no further
                distractions or potential excuses. As you'll read, I also did this for a few other
                reasons, Bill and Ryan agreed this was a sound decision to make.

            •   Proof: (Exhibits13-18) (The date was pushed back because this court moved
                my hearing to April 14th, 2022, as you'll read, my goal was to have the court
                decide an issue first and then bring them in so as to not distract the court,
                Ryan and Bill agreed as you'll read). For further proof that they were working
                for me without the courts' knowledge please take note of other Exhibits and
                also the fact that this court began receiving my motions and responses typed
                up, edited, with cover letters, and overall, a more professional appearance.
                That was thanks to Bill and Ryan acting as stand-by counsel. Tell me judge,
                how did I do such things? Because Bill and Ryan were doing exactly what I
                said they were doing. Meaning they knowingly lied to you then and still are
                doing it now.
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          •   Bill broke this agreement by making an appearance on April 4th, 2022.
              However, he broke our agreement again in that he lied and entered that he was
              fully representing me, when he knew he wasn't. Proof: (Exhibits 19-21) (see
              also Exhibits 28 and 4).

   •   Bill sought me out, I was looking at another attorney. However, after responding to
       Bill’s request to talk from another client, Bill and Ryan told me that I could make
       money by choosing them (they had fundraisers, group and personal), and that I'd get
       two lawyers instead of just one. That was why I choose them.

   •   Again, please give all my Exhibits a read to better help give you the full picture.
       There is no way Bill can spin it, he knowingly lied to you about all of this because he
       thought I didn't keep/ find a way to keep the DC jails messages. He was under the
       impression this evidence was destroyed! Nope. I'll continue pointing out how he lied
       to you/ purposely disrespected your courtroom to his client’s detriment like the crap
       person/ lawyer he really is.

B. Lie Number 2

   •   Bill said: " During our conversation I advised Mr. Fellows that I would be willing to
       come into the case as his retained counsel. He advised me that through fundraising he
       had $20,000. As the Court is aware, I have been representing various clients in this
       court with funds raised through a third-party legal fund, but clients who have raised
       money on their own for legal expenses are expected to contribute those funds for their
       own cases. Mr. Fellows was reluctant to pay the entire $20,000 up front based on
       “suspicions” he had developed regarding many attorneys involved in defending
       clients charged in connection with January 6.”

   •   Bill has told various clients as a selling point that he has a fundraiser and that a perk
       of being his client is that we (defendants) can potentially make money by being on his
       fundraiser. I say "potentially" because as they shared, if money is owed to them (Bill
       and Ryan) they would collect first to cover costs, and anything left over would go to
       me/the other clients (they had a group donation fund, and individual client fund).
       However, see the deals we worked out, I knew how someone could attempt to claim
       random hours of work, or make claims to other client’s personal fundraisers based on
       limited language, that is why I negotiated set prices and clear terms. I took note of the
       trickery he used against Nate Degrave and made sure to include language and terms
       that would not allow me to face the same fate as Mr. Degrave.

          •   Proof: (Exhibit 2) (Exhibits:59-61) (Exhibits 54-56 (the commission I paid
              him (see Exhibit 56) was his reward for getting a job accomplished, he was to
              share 2 separate links so as to act as a 2nd "net" to catch additional donations
              for me, I would not pay him to have him make money for himself, that is
              beyond stupid.)
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    •   Additionally, the price had nothing to do with "suspicions". It had to do with me not
        thinking that I should be charged the same amount as his other clients whom he had
        retained earlier in the process, that had 7-9 more felonies than I did, and who he was
        fully representing, something I made clear I wasn't seeking.

           •   Proof: (Exhibit 2).

    •   Me not paying $20,000 had everything to do with the known fact that Bill and Ryan
        agreed to do the work for $10,000! Bill knew this, which is why he accepted my
        counter offers

           •   Proof: Ryan: "So from here on, we can consider yourself having retained
               "standby counsel" of me and Bill for 10k," (Exhibits 7 and 8)(not most recent
               negotiations, continue reading up until exhibit 12 for final payment, that
               exhibit shows I officially retained them 2/17/22 as standby counsels). See also
               Exhibits 4 and 28. Again, please give all of my Exhibits a read to better help
               give you the full picture. There is no way Bill can spin it, he knowingly lied to
               you about all of this because he thought I didn't keep/ find a way to keep the
               DC jails messages. He was under the impression this evidence was destroyed!
               Nope. I will not be another victim of his con man tactics. He will eventually
               pay for what he has done to this case and to me.


C. Lie Number 3

•   Bill said: "I understood Mr. Fellows’ concerns, and we agreed that he would pay $10,000
    at the start of our engagement, reserving the remaining $10,000 to be paid later. I entered
    my general appearance as his retained counsel on April 4, 2022."

•    Those were not my concerns (see previous 2 responses above to be reminded of my
    actual concerns). Bill knew this. Bill also knows that was not the agreement. He was to
    enter as standby counsel, but he tried to literally last-minute bait and switch me, hardcore.
    He did this by trying to make me cave under duress less than 3 minutes before court. He
    threatened to leave my case if I dared to tell you (Judge) that he was in fact hired as my
    stand-by counsel. I called his bluff as respectfully and as quietly as I could without
    notifying the court of these extreme issues. I did this in hopes of gaining control of my
    out of control blackmailing counsel. I also figured doing so would eventually cause him
    to be appreciative of me for turning my cheek to such dark treachery, possibly motivating
    him to passionately fight for me as an attorney (whether as stand-by or fully representing
    me). Though he responded by trying to make me look like the one who was lying to the
    court, I ignored him because I felt I had regained my control of the situation. I also felt
    very little would be gained by bringing such issues up to the court at that point.

•   Please take note how I diplomatically dealt with that crappy situation in his favor, I didn't
    swear or freak out. I was upset, but I recognized what the best reaction would be long
    term and applied it without emotions getting in the way. I attempted to overlook the
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         situation and give him another chance, and that wasn't just any little mistake, Bill tried to
         bait and switch me and made me look like an idiot in public court. Bill not only doesn't
         appreciate my forgiveness in how I treated him after this, but he attempted to continue his
         deception and selfish sociopath like tactics here by clearly lying to you about another
         situation in order to make himself look good, make me look bad, and that would
         potentially secure him more money (whether through theft or by suing over false funds
         owed to him).

                      •   Proof: Pricing: already proven above, (see Exhibits in Lie Numbers 1
                          and 2).

                      •   Proof of Bill’s bait and switch tactics (see Exhibit 26).

                      •   Finally, see our last agreed upon modifications to the existing agreement
                          made April 23, 2022 (Exhibit 28). Bill wanted to fully represent me, and
                          I ensured that he would not charge me for doing so, and that I could
                          rescind that power from him if I was displeased with his performance.
                          Bill and Ryan agreed to that and other things. (Exhibit 29). Again, please
                          give all of my Exhibits a read to better help give you the full picture.

                      •   There is no way Bill can spin it, he knowingly lied to you about all of
                          this because he thought I didn't keep/ find a way to keep the DC jails
                          messages. He was under the impression this evidence was destroyed!
                          Nope. I will not be another victim of his con man tactics. He will
                          eventually pay for what he has done to this case and to me.


D.       Lie Number 4 (#5 On His Motion To Withdraw):

     •   Bill said: "Mr. Fellows was sent to the Ft. Worth BOP medical facility where he
         remained for nearly four months in the summer of 2022. When he was returned to this
         jurisdiction, he was not sent back to DOC where he had been engaged in a long-running
         series of disputes and disciplinary matters over his protests about the conditions of
         detention in that facility.”

     •   I was at Ft. Worth Texas for 37 days, not 4 months. Additionally, Bill lied to me and said
         I was going for a mental evaluation to help prove my autism spectrum disorder and other
         disorders I was diagnosed with. He told me I'd only be gone for a few days. Upon arrival
         (way later than I was told (among other lies (see all Exhibits)) I was not there to look into
         disorders, only to see if I was competent to stand trial, I was told they were not looking to
         prove whether I had or did not have autism.. A major lie/ failure on their end in many
         ways.

                      •   Proof: I was in Texas for 37 days (see competency report), see also:
                          Kind of evaluation/ duration of evaluation/ location of evaluation/ leave
                          time of evaluation (see Exhibits 45-51( there are a lot of lies there!))
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     •   Note: speaking of the conditions at the jail, my exhibits further prove what I have already
         proven in many ways, that the jail was abusing me and retaliating against me. Again,
         please give all of my Exhibits a read to better help give you the full picture. There is no
         way Bill can spin it, he knowingly lied to you about all of this because he thought I didn't
         keep/ find a way to keep the DC jails messages. He was under the impression this
         evidence was destroyed! Nope. I will not be another victim of his con man tactics. He
         will eventually pay for what he has done to this case and to me.

E.       Lie Number 5 (#6 On His Motion To Withdraw):

     •   Bill said: "Ultimately the efforts to secure his release on conditions of pretrial release
         were unsuccessful. In the aftermath of that result, Mr. Fellows began to demand to
         represent himself again, with my role shifting to that of “Stand-by Counsel.” As part of
         that, Mr. Fellows refused to pay the remaining $10,000 that had been agreed upon, and
         instead said he would pay that second payment just ahead of his trial to insure my
         continued involvement and assistance at the trial."-

     •   Note: The "efforts" to secure my release included:

                      •   Bill lying about how he would correct the lies from arrest and revocation
                          hearings (I spoon fed him with facts/ where to get information (Many
                          times!)). (Proof: The exhibits I provided, and NN jail recorded phone
                          calls and messages, as well as Fort worth and Grady county). This was a
                          major term that he agreed upon following if I allowed him to fully
                          represent me during the "test period". Further, he later suggested you
                          didn't believe the lies from the government regarding my revocation, so
                          he saw no need to correct it despite agreeing he would in our new deal,
                          not only a breach of contract but also irritating when this court cited
                          those lies as to why I was being denied bond.That is why I wanted those
                          lies corrected.

                      •    Bill lying about the competency evaluation/ me. He suggested that I
                          can't control myself, not true, and even if it was, what kind of retard
                          lawyer would think that was a good idea for advocating for bond? "Your
                          honor, he can't control himself, let him out of jail", is what his new
                          master plan was? It's like he was trying to ensure I'd be denied bond! I
                          find that more believable than believing that he accidently made this
                          fabricated lie up and then truly believed that would secure my release on
                          a bond petition. There is no other rational explanation! Why did he put
                          that lie in there? Where did he get that from?
                            • Proof: The evaluator said that my prognosis was positive, he did
                                 NOT see me as unable to control myself, furthermore, my 26 year
                                 history proves against that. Bill's laziness and lies screwed me out
                                 of bond. He literally shared an excuse that wasn't supported by the
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                           evaluation. Side note: that evaluator got a lot of information
                           wrong, he did a terrible job listening.

                       •   We agreed I would be able to view it and approve of it (bond
                           motion) prior to him sending it in, another breach of contract.
                           Proof: (Exhibits 28/29 ("motions will be sent to me to overlook for
                           my approval before going on the record.")), Bill and Ryan agreed
                           to this as you can read there, yet they breached that too.


                       •   He refused to submit my 3rd party custodian information
                           suggesting "he (Judge) won't want that yet", which was all the
                           more irritating when you brought up that I didn't offer 3rd party
                           custodianship information. Proof: Northern neck recorded phone
                           calls and messages, subpoena them.

•   By simply letting this court recite the lies and not correcting you (Judge)/ even attempt to
    offer verbal arguments... He accepted defeat immediately... What a firestorm of an
    attorney!(Sarcasm). Bill and Ryan told me "They call me/him Shipwreck Shipley because
    of the storm I bring in the courtroom". No... He purposely crashes into the rocks in the
    middle of a calm day, that is why he should be called "Shipwreck Shipley"... Does
    anyone actually call him that? I'm in jail, but I assume not. Proof: Go back and read his
    verbal arguments (silence) it's not a long read, I promise.


•   As expressed already, Bill and Ryan lied about the kind of evaluation, departure for the
    evaluation, duration of the evaluation, and location of the evaluation I'd be subjected to.
    roof: Exhibits 45-51, and recorded phone calls/ messages at those various jails.

•   How Bill Is Lying Here: I was paid in full and there was no agreement of me paying
    another $10,000. Proof: Exhibits 28, 27, 2, 7, 8, 12, etc. Again, please give all of my
    exhibits a read to better help give you the full picture. There is no way Bill can spin it, he
    knowingly lied to you about all of this because he thought I didn't keep/ find a way to
    keep the DC jails messages... He was under the impression this evidence was destroyed!
    Nope... I will not be another victim of his con man tactics. He will eventually pay for
    what he has done to this case and to me.

F. Lie Number 6 (#7 On His Motion To Withdraw):

    •   Bill Said: "As the Court will recall, Mr. Fellows first announced his desire to once
        again represent himself during a status conference on November 2, 2022. I had
        discussed the idea with him ahead of the hearing, but he did not advise me that he
        intended to make that request during the hearing. After he did so, the Court took a
        short break and allowed me to discuss the issue with Mr. Fellows in a “breakout
        room.” After that discussion, we returned and I advised the Court of Mr. Fellows’
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           wishes. My initial reaction was that I was unwilling to serve as “Stand-by” counsel
           based on my suspicions about how that relationship would play out over time."

       •   How Bill Is Lying Here: Bill hadn't just discussed the idea ahead of time, he agreed
           that if he failed to get me bond, or to do any of the other many things he failed to do
           (or even file in some cases)/ if I was displeased with his "test-run" of fully
           representing me, that I would go back to representing myself. He failed at
           EVERYTHING, but told me he would get me bond. So despite that he took longer
           than agreed upon to submit the bond motion (and broke our agreement in how he he
           would do it in many ways (see Exhibits, and Exhibit 28) I moved back to representing
           myself. Bill and Ryan knew since mid April 2022 of such plans and were again
           reminded of them May 21st 2022 (Exhibits 52-55), along with many more times since
           then. Have a look back onto the record of that bond hearing and you'll find that again,
           despite Bill having known that I was going to represent myself, that he lied verbally
           in court as he said 3 things. First, that he had "no idea" I was going to seek such a
           thing. Second, that this was the first time he had heard anything about this (he clearly
           admits in his own motion here that he was lying to you verbally in court that day).
           Third, that he would not be my stand-by counsel, he agreed to do this many times and
           was hired for that purpose... He again (just as he did April 14th 2022) tried to make
           me look like a crazy idiot, and yet I held my tongue, again overlooking his deceptive
           tactics. Proof: Exhibits 52-55, and Exhibits 28-29, Bills own withdrawal motion, and
           my 11/2/22 court transcript.

       •   The other lie is that Bill was disinclined to be my stand-by counsel because of
           supposed suspicions about how the relationship would play out over time... Bill
           accepted being stand-by counsel because that was the agreement... Simple as that.
           Ryan was the one I dealt with after that hearing. I asked Ryan why Bill tried to do the
           same thing he tried to do on April 14th 2022, all I got was "I don't know, but Bill is
           sorry and he will be stand-by counsel." Proof: Exhibits 52-55, and Exhibits 28-29.
           Again, please give all of my Exhibits a read to better help give you the full picture.
           There is no way Bill can spin it, he knowingly lied to you about all of this because he
           thought I didn't keep/ find a way to keep the DC jails messages... He was under the
           impression this evidence was destroyed! Nope... I will not be another victim of his
           con man tactics. He will eventually pay for what he has done to this case and to me.

G. Lie Number 7 (#8 On His Motion To Withdraw):

   •   Bill said: "But upon reflection, realizing that Mr. Fellows, Mr. Marshall, and myself
       generally had a good working relationship, I decided I would stay in the case for the
       purpose of assisting Mr. Fellows with his case at trial, giving him advice on courtroom
       and trial procedures as well on substantive issues he wanted to raise."

   •   How Bill Is Lying Here: Bill tries to pretend that he was convinced to do what he did not
       want to do in order to help, out of the kindness in his heart. What a sweet fake story. The
       truth is he decided to stay because we agreed upon him and Ryan being placed back as
       standby counsel if I wanted them to be, and especially if they failed to do what they
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    agreed they would do/ would accomplish. Bill isn't kind hearted as he tries to suggest
    through this fake story, he tried to further break our agreement and made me look like a
    liar in court when I tried to get him to do what he agreed he would do months, weeks,
    days, and even minutes prior to the hearing!


         •   Proof: Exhibits 52-55, and Exhibits 28-29. Again, please give all of my Exhibits
             a read to better help give you the full picture. There is no way Bill can spin it, he
             knowingly lied to you about all of this because he thought I didn't keep/ find a
             way to keep the DC jails messages. He was under the impression this evidence
             was destroyed! Nope. I will not be another victim of his con man tactics. He will
             eventually pay for what he has done to this case and to me. Additionally, I was
             considering bringing them as stand-by counsel to trial, that is why I asked for
             separate pricing for them to be present at trial. Should they have come to trial with
             me (either fully representing or as standby counsels) I would owe them an
             additional 5,000 dollars. Should I have been happy to keep them after their test
             run of fully representing me/ after their bond attempt, I would pay them an
             additional 5,000 dollars to continue fully representing me. However, I was very
             displeased with them, so I kicked them back into standby counsel positions, and
             again as document 28 shows, I was not going to be charged for this test run.

         •   Proof: Exhibits 7-9. Again, please give all of my Exhibits a read to better help
             give you the full picture. There is no way Bill can spin it, he knowingly lied to
             you about all of this because he thought I didn't keep/ find a way to keep the DC
             jails messages. He was under the impression this evidence was destroyed! Nope. I
             will not be another victim of his con man tactics. He will eventually pay for what
             he has done to this case and to me.

    H.       Lie Number 8 (#12 On His Motion To Withdraw)

•   Bill said: “On May 25 2023, Mr. Fellows had his appeal of this Court’s detention order
    denied by the Circuit Court of Appeals. Mr. Fellows did not file “Reply” brief according
    to the briefing schedule set by that Court. Mr. Fellows claims he wanted Mr. Marshall to
    seek an extension of time on his behalf to file the Reply because he did not yet have
    access to the documents he has long-claimed he needs to properly address prior factual
    decisions that led to his detention."

•   How Bill Is Lying Here: Bill is incorrect in multiple ways here. First, I DID file my reply
    on time, even though Bill and Ryan failed 8 separate times to get the the paperwork they
    said they would get to me/ had been taken from me over 1 year prior by the DC jail. I
    filed it prior to May 25th 2023, Bill and Ryan did not file it on time (I sent it to them as I
    always do since they are standby counsels. The law is clear that pro se defendants
    motions are filed when they send it from jail, not when the courts get it or when the
    stand-by counsel forwards them. The courts were sent proof of my filing it on time via
    the mail and I believe through the ECF in a petition for a re-hearing, I never heard back
    from them.
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•   I now have been made aware that this Reply of mine (which had actual quotes and
    exhibits from the government, unlike my response which did not have these because I
    was not yet supplied with them yet/ able to provide them to the appellate court as proof/
    arguments) that was received by them around 2 days prior to the 25th of May 2023, and
    after a supposed extension was given (according to Ryan), that he in fact did not file it
    until 6/20/23. Given this date on the ECF, it would somehow seem he took nearly a
    month to submit a document that was literally fully written and ready to go. Perhaps that
    is why I never heard from the Appellate court directly on receiving this Reply

•   Aside from that, Bill lied both in court and on this document when he knows Ryan told
    me he would file an extension for time (due to his 8 failures to get my paperwork into the
    Lewisburg jail). Further, Ryan at first told me he had filed for an extension, and even told
    me he spoke to someone who assured him that it was fine with the court. Then, he
    randomly told me it was denied prior to them receiving the Reply... When I asked why,
    he at first claimed he didn't know. Upon further questioning, Ryan shared that he in fact
    did not file an extension, but rather just called the court and spoke to a clerk who
    supposedly assured him that I would be fine filing it later. When I pressed Ryan on who
    the clerk was, he claimed he didn't know. Finally, Bill knows that this court ruled on lies
    from the government to my detriment, he has seen the proof. It is my belief that this court
    has tried to cover up its wrongdoing non-stop in that manner and other manners, but Bill
    has seen it, and the evidence was in that Reply and also the FBI documents I told them to
    submit. Proof: What I mailed the DC circuit courts, my emails and recorded calls to Ryan
    Marshall at Lewisburg Jail.

•   Bill further lied when he said “These are the documents he claims were left behind in his
    cell at DOC when he was first removed from that facility at the request of DOC officials
    following his public release of secretly recorded videos of the conditions inside." They
    were left behind, and Bill and Ryan knew they were as they had them and kept failing to
    get me them. Second, I was attacked by guards who were fearful they would get in
    trouble for the videos I had, and videos I have. Fortunately for them, they have an equally
    corrupt Judge (you) who doesn't give a damn about crimes being committed by the
    government, even though the crimes lead to many deaths in this jail. You helped protect
    them and let them destroy the evidence you stupid corrupt idiot (I say this respectfully)!
    Never again can you truly claim "justice must be done", you don't support justice, you are
    a bigot (I say this respectfully)!

•   Again, please give all of my exhibits a read to better help give you the full picture. There
    is no way Bill can spin it, he knowingly lied to you about all of this because he thought I
    didn't keep/ find a way to keep the DC jails messages... He was under the impression this
    evidence was destroyed! Nope... I will not be another victim of his con man tactics. He
    will eventually pay for what he has done to this case and to me.

I. Lie Number 9 (#17 On His Motion To Withdraw):
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•   Bill said: “The relationship between Mr. Fellows, Mr. Marshall and myself has now
    deteriorated to such an extent that I do not feel I can continue to serve as “Stand-by”
    counsel. He refuses requests that he pay the second installment of $10,000, while
    continuing to demand that Mr. Marshall and I engage in acts on his behalf that are no
    different than if I was still his retained lead counsel. He expects us to facilitate his access
    to electronic discovery, deliver other discovery materials to him, and file documents at
    his direction – all for no compensation. He regularly calls or communicates in writing,
    taking up time of Mr. Marshall on myself that could be spent on behalf of other clients.
    Again, he has an expectation that Mr. Marshall and I are obligated to perform in this
    fashion even though he has refused to pay the agreed-upon amount."


•   How Bill Is Lying Here: First of all, I fired Bill and Ryan for their non-stop breaches of
    contract, stealing money from me, and lies that have worked to my lifes detriment. Bill
    doesn't mention I fired him, which I see as a continuation of his pride and middle school
    school like emotional IQ ("You can't break up with me, I'm breaking up with you!"). The
    final straw was the lying about the extension being filed/ not knowing what this supposed
    court clerks name was who told him it would be fine... I should've fired them a long time
    ago, but I was under duress even more so than I was when I fired them.

•   Bill and Ryan have continually failed at being stand by counsels, a simple job really.
    Whether it be taking what seems to be every other week off for a vacation, going to
    Disney world 10 times, or taking over up to a year to do certain requests, or never
    accomplishing them in over a year despite constant requests (like getting me a private call
    with 2 people I wanted to convince to come as witnesses) and reminders. Bill and Ryan
    have been deciding when they want to serve as standby counsel even though they have
    been paid in full, and stole additional funds from me through their private fund we agreed
    would go to me.


•   Bill knows he has been paid in full. Not only that, he breached those terms, and he owes
    me money. I've proven this many times above as it has been brought up/ lied about by
    Bill many times.

•   I most definitely do make constant calls and messages to Bill and Ryan where I am
    making demands to do what they agreed to do for the money I gave. Most of my calls
    have to do with them still failing to do what I requested. This problem would be solved if
    Bill didn't lie and wasn't so lazy in keeping his agreements. Bill just isn't use to actually
    having to work for his clients, he's use to taking their money, copy and pasting the same 3
    or so motions on the ECF, and then demanding more money as if he has working his tail
    off for them.


•   Bill complains over the little they have done despite that they agreed to do these things!
    He claims this time could be spent on his other clients, but every client that I know who
    has had him (I've known 5 of them) has shared that they too have lied, not prepared for
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    hearings/ trials, shared privileged information, or has made sexual advances towards
    them (I know this has happened, it has happened with me). They don't focus on fighting
    for clients, they focus on fighting for their money and then do next to nothing for them.


       o Proof: See All Exhibits. There is no way Bill can spin it, he knowingly lied to you
         about all of this because he thought I didn't keep/ find a way to keep the DC jails
         messages... He was under the impression this evidence was destroyed! Nope... I
         will not be another victim of his con man tactics. He will eventually pay for what
         he has done to this case and to me.

J. Lie Number 10 (#18 On His Motion To Withdraw)

•   Bill said: “At this point, I lack any confidence that Mr. Fellows – particularly if he is
    convicted – will ever pay the second $10,000 installment, and all the time spent by Mr.
    Marshall and myself as “Stand-by” counsel will be with no compensation, including time
    spent in trial."

•   How Bill Is Lying Here: Again, Bill knows I was not going to let him represent me at any
    capacity at trial, I don't reward incompetence, liars, swindlers, or idiots. Bill has known
    this for certain since the beginning of 2023, and knew it was a potential since February
    2022, which is why I told them to include prices for bringing them to trial separately.
    This is just another example of Bill's "you can't break up with me, I'm breaking up with
    you" attitude. I made it very clear to Bill and Ryan, I was not going to bring them to trial
    because of how much they messed up my case and the record, both while fully
    representing me and as stand-by counsels. Bill got one thing right, I would never
    willingly pay him the money that I don't owe him.

•   Even if I did owe him money, I wouldn't pay him because of his many and huge breaches
    of contract. Bill was compensated fully despite that he shouldn't have been. I could be set
    free and win a billion dollars, I'd still refuse to pay Bill any money that he claimed I owed
    him (though I clearly don't), and I'd still sue him or find a way to make him pay for the
    money and damages he caused me.
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                                            CONCLUSION

       This response took this many months to send because once they left I did not have a

stand-by counsel to help me send this until recently. While I understand Mr. Shipley no longer

represents me in any capacity, I wanted the record to be clear.



                                     Your favorite Political prisoner,

                                      Brandon Fellows
